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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                           CRIMINAL ACTION

v.                                                                 NO. 14-022

MICHAEL P. ARATA                                                   SECTION "F"


                                  ORDER AND REASONS

        Before the Court are two motions: (1) the government's motion

to vitiate the proffer agreement with Arata; and (2) Michael

Arata's      motion        to     dismiss   for      prejudicial       joinder    or,

alternatively, to sever.             For the reasons that follow, the Court

defers     ruling     on    the    government's      motion   pending    a   limited

evidentiary hearing, and Arata's motion is DENIED.

                                      Background

        Peter and Susan Hoffman and Michael Arata were partners in

various movie-related business ventures.                One such venture was the

purchase and renovation of a dilapidated mansion on Esplanade

Avenue in New Orleans, which they turned into a post-production

film editing facility.             This federal white collar criminal case

arises from the government's allegations that -- in connection with

the renovation project -- the Hoffmans and Mr. Arata (through

companies they owned) allegedly committed, aided and abetted, and

conspired to commit, mail and wire fraud by submitting false

expense reports in order to deceive the State of Louisiana into

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issuing state tax credits that they had not actually earned and

were not entitled to receive.1          Mr. Arata, alone, is also charged

with making false statements to federal agents.

     The    facts    giving   rise   to      this     criminal   case     are   more

completely summarized in the second superseding indictment and in

this Court's Order and Reasons dated July 18, 2014.                   United States

v. Hoffman, No. 14-22, 2014 WL 3589563, at *1-3 (E.D.La. July 18,

2014).     The background facts most pertinent to the resolution of

the present motion are summarized here.

     In renovating the property at 807 Esplanade Avenue, Peter

Hoffman,2    Susan   Hoffman,3    and       Michael    Arata,4       through    their


     1
      The backdrop of this federal criminal case is a Louisiana
state law tax credit program, in which individuals and businesses
that applied to the State for film infrastructure tax credits were
entitled to receive an amount equal to 40% of their qualified and
audited film infrastructure expenditures.      Once certified, the
applicants could then sell the certification to local businesses
and individuals, who would then use the tax credit certifications
to offset taxes that the businesses and individuals would otherwise
have owed to the State of Louisiana.
     2
      Peter M. Hoffman, the government alleges, was the CEO of
Seven Arts Entertainment, Inc., a company involved in the motion
picture and entertainment industry in California. Mr. Hoffman was
also an attorney and served as a executive in numerous financial
and tax-preferred financings for over 25 years. He also owned,
operated, and controlled numerous companies affiliated with Seven
Arts Entertainment, Inc.
     3
      Susan Hoffman, the government alleges, was a California film
producer who relocated to New Orleans. Susan Hoffman also owned
and operated several companies, including Leeway Properties, New
Moon Pictures, LLC, and Seven Arts Pictures Louisiana, LLC.
     4
      Michael P. Arata, it is alleged, was also a Louisiana
attorney and businessman who owned and operated companies involved

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respective companies, availed themselves of the Louisiana film

infrastructure    tax    credit    program.    They     submitted      three

applications and supporting documents to the State for tax credits.

As statutorily required, the defendants first submitted the 807

Esplanade expenditures to auditors for verification. To verify the

expenditures, the auditors requested proof of payment such as

invoices, bank transfers, bank statements, and other corporate

financial records. Based on this information, the auditors created

audit reports detailing the defendants' claimed expenditures on 807

Esplanade.    These audit reports were submitted as part of the

February 26, 2009, January 20, 2010, and July 3, 2012 submissions

to the State for film infrastructure tax credits.

     On June 19, 2009 the State issued $1,132,480.80 in tax credits

to Seven Arts Production Louisiana, LLC as a result of the first

application, the February 26, 2009 submission. Mr. Arata paid cash

to the partnership for these tax credits, at a discounted price,

through his company LEAP Film Fund II, LLC, and then sold the tax

credits to local businesses and individuals for profit. (The State

did not issue tax credits based on the January 20, 2010 and July 3,

2012 applications).




in the movie and entertainment industry, including Seven Arts
Pictures Louisiana, LLC, Voodoo Production Services, LLC, Voodoo
Studios, LLC, and LEAP Film Fund II, LLC, which purchased, sold and
brokered Louisiana film tax credits.

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        On   January     27,    2014    Mr.     Arata,   during    the    government's

investigation, with his counsel present, made statements to a

Special Agent of the FBI pursuant to a written proffer agreement

with the government.                The government bargained for "completely

truthful" information "with no material misstatements or omissions

of    fact"    so    that      it    could     "assess   the   value,     extent,    and

truthfulness        of   [Mr.       Arata's]    information    about      the   criminal

liability of [Mr. Arata] and others" in order to "ultimately reach

a decision concerning [Mr. Arata's] cooperation." In exchange, Mr.

Arata received assurances from the government that "statements or

information contained in [Mr. Arata's] proffer may not be used in

the government's case-in-chief against [Mr. Arata] should a trial

be held."5

        Shortly thereafter, on February 6, 2014 a grand jury returned

a six-count Indictment, charging Peter Hoffman and Michael Arata

with conspiracy (Count 1), as well as aiding and abetting, and

actually committing wire fraud (Counts 2 - 6), in violation of 18

U.S.C. §§§         371, 2, 1343.         After first superseding on April 3,

2014,6       the    government        filed     a   25-count    second     superseding


        5
      Although the government agreed not to directly use Mr.
Arata's proffer statements or proffer "in the government's case-in-
chief", the parties agreed that "[t]he government may make
derivative use of...any statements or information provided by [the]
proffer."
        6
      This Superseding Indictment filed on April 3, 2014 charged
Susan Hoffman for the first time, and added additional charges
against the other defendants: conspiracy (Count 1), wire fraud and

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indictment on May 15, 2014, charging the Hoffmans and Mr. Arata

with conspiring to commit, committing, and aiding and abetting,

wire and mail fraud, in violation of 18 U.S.C. §§§§ 371, 1343,

1341, and 2.

     With respect to Count 1, which alleges conspiracy to use the

mail or wires in furtherance of the defendants' scheme to defraud,

the government alleges 37 specific overt acts, and charges that the

defendants accomplished their conspiracy, and took steps to conceal

their scheme from the State, when they: 1). prepared and filed

material false and misleading tax credit applications, fraudulently

claiming that certain expenditures had been made to 807 Esplanade

when those expenditures had not been made; 2). prepared and

submitted to the auditors and to the State materially false and

misleading   internal   accounting       books   and   records    and   payment

receipt certifications to make it appear as if certain expenditures

had been made and certain items had been paid for and received when

those expenditures had not been made and those items had not been

paid for or received; 3). prepared and submitted to the auditors

and the State materially false and misleading invoices in support

of fraudulent expenditures; 4). conducted materially false and

misleading circuitous bank transfers of money to make it appear


aiding and abetting against Peter Hoffman and Michael Arata (Counts
2 - 5), wire fraud and aiding and abetting against all three
defendants (Counts 6 - 17), mail fraud and aiding and abetting
against all three defendants (Count 18), and false statements
against Michael Arata only (Counts 19 - 22).

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that certain items were paid for when those items had not been paid

for; and 5). prepared and submitted to the auditors proofs of

payment that were materially false and misleading in that only

outgoing money transfers were disclosed to the auditors when the

money had actually been immediately returned to the original bank

account and those return money transfers were not disclosed to the

auditors.

     As to the wire fraud charges (Counts 2 - 5 against Peter

Hoffman and Michael Arata and Counts 6 - 20 against all three

defendants), the government alleges:

     Beginning on or about March 1, 2006, and continuing until
     on or about July 3, 2012, in the Eastern District of
     Louisiana and elsewhere, the defendants, Peter Hoffman,
     Michael Arata, Susan Hoffman ... did knowingly and
     willfully devise and intend to devise a scheme and
     artifice to defraud and to obtain money and property by
     means of false and fraudulent pretenses, representations
     and promises by submitting and causing to be submitted
     materially false, misleading and fraudulent information
     to the auditors and to the State of Louisiana for the
     purpose of obtaining infrastructure tax credits relative
     to 807 Esplanade. All in violation of Title 18, United
     States Code, Sections 1343 and 2.

With respect to the mail fraud charge (Count 21), the government

alleges:

     On or about February 3, 2010 ... the defendants, Peter
     Hoffman, Michael Arata, Susan Hoffman ... for the purpose
     of executing and attempting to execute, and in
     furtherance of, the scheme and artifice to defraud set
     forth in paragraph 2 of Counts 6 through 20 above, did
     knowingly send and cause to be sent, delivered, and moved
     by private commercial interstate carriers correspondence
     dated February 2, 2010, addressed to an auditor for the
     State of Louisiana with attached exhibits, corporate
     agreements, and invoices for project management,

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     equipment consulting, and office rent. All in violation
     of Title 18, United States Code, Sections 1341 and 2.

     The second superseding indictment also charges Mr. Arata with

making false statements to federal agents.7          The false statement

counts -- Counts 22 through 25 -- charge:

                            COUNTS 22 - 25
                          (False Statements)

          On or about January 27, 2014, in the Eastern
     District of Louisiana, in a matter within the
     jurisdiction of the United States Department of Justice,
     a department of the Government of the United States, the
     defendant, MICHAEL ARATA, did knowingly and willfully
     make materially false, fictitious and fraudulent
     statements and representations to a Special Agent of the
     Federal Bureau of Investigation as more particularly
     described in each count below:



  COUNT   DESCRIPTION OF STATEMENT
    22    MICHAEL ARATA stated that he terminated his relationship
          with defendant PETER HOFFMAN in or about July 2009, when
          in truth and in fact, as he then well knew, he had
          continued working with PETER HOFFMAN including reviewing
          and preparing information for the January 20, 2010
          application for tax credits and other tax credit related
          business ventures.
    23    MICHAEL ARATA stated that he was not aware that $350,000
          in legal fees were submitted to the State of Louisiana
          for tax credits, when in truth and in fact, as he then
          well knew, he was aware that $350,000 in legal fees had
          been submitted to the State and he had personally
          provided information to the auditors in support of the
          claimed legal fees in order to assist in the completion
          of the January 20, 2010 application for tax credits.


     7
      Count 1 alleges conspiracy, Counts 2-5 allege wire fraud as
against only Messrs. Hoffman and Arata, Counts 6-20 allege wire
fraud against all three defendants, Count 21 alleges mail fraud,
and Counts 22 - 25 charge only Michael Arata with making false
statements to federal agents in violation of 18 U.S.C. § 1001.

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      24     Regarding film equipment reported in the February 26,
             2009 tax credit application to the State of Louisiana,
             MICHAEL ARATA stated that the film equipment had been
             “acquired” in that the equipment would be contributed to
             807 Esplanade by the vendor as a business partner, when
             in truth and in fact, as he then well knew, the equipment
             had not been acquired or contributed and that he had
             repeatedly advised the auditors and the State that the
             equipment had been purchased and paid for.
      25     MICHAEL ARATA stated he thought he fully disclosed both
             sides of the transactions for construction and equipment
             expenditures to the auditors, when in truth and in fact,
             as he then well knew, he had purposely concealed the
             circular transactions from the auditors.

        All in violation of Title 18, United States Code, Section
1001.

        All three defendants moved to dismiss Counts 1 through 21 of

the     second   superseding    indictment     (which     charge     them    with

conspiracy to commit mail and wire fraud, as well as committing and

aiding and abetting mail and wire fraud) on the ground that the

indictment fails as a matter of law to state offenses against the

United States; unissued tax credits, the defendants submitted, are

not "property" and, therefore, cannot be the object of a mail or

wire    fraud    scheme.   On   July   18,   2014   the   Court     denied    the

defendants' motions to dismiss Counts 1 through 21, holding that

the film tax credits at issue constitute "money or property."

United States v. Hoffman, No. 14-22, 2014 WL 3589563, at *9-11

(E.D.La. July 18, 2014). Thereafter, Mr. Arata sought dismissal of

Counts 22 through 25, the false statements charges, on the ground

that by bringing those charges the government breached a proffer

agreement. In denying the motion without prejudice on October 8,

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2014,   the   Court   examined    the       terms   of   the   written     proffer

agreement, which was signed on January 27, 2014 by counsel for the

government and by Mr. Arata in advance of a proffer meeting held

that day. See United States v. Hoffman, No. 14-22, 2014 WL 5040721

(E.D.La. October 8, 2014).         The January 27, 2014 proffer letter

states:

          It is my understanding that your client, Michael
     Arata, is interested in providing a proffer of
     information and cooperation to investigating agents.
     And, the government is also interested in pursuing this
     matter.   However, before a decision can be reached
     concerning whether or not your client should be afforded
     any concessions, the proffer must take place.        The
     proffer will allow the government to assess the value of
     the information and ultimately reach a decision
     concerning your clients cooperation.

          The requirements set out in this letter are
     necessary to avoid the need for a Kastigar or taint
     hearing, whereby the government would be forced to
     demonstrate that its evidence was not tainted by a
     statement made by your client during the proffer
     discussion, if there were a trial in this matter.
     Therefore, this letter sets forth the ground rules for
     addressing the proffer of information your client wishes
     to provide:

     1.       Purpose: The purpose of your client making a
     proffer is to provide the government with an opportunity
     to assess the value, extent, and truthfulness of your
     client's information about the criminal liability of your
     client and others.

     2.      Truth: Your client's proffer must be completely
     truthful with no material misstatements or omissions of
     fact.

     3.     Recording: At the government's option, the proffer
     interview may be tape-recorded, videotaped, or recorded
     through an agent's or government attorney's handwritten
     notes.


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   [4.         Polygraph examination requirement, which
   apparently was struck from letter and initialed and,
   thus, inapplicable.]

   5.      No promises: While your client hopes to receive
   some benefit by cooperating with the government, your
   client expressly understands that the government is
   making no promise of any consideration at this time.

   6.       No direct use: The government agrees that
   statements or information contained in your client's
   proffer may not be used in the government's case-in-chief
   against your client should a trial be held.          This
   provision does not apply to any statement made by your
   client regarding crimes of violence pursuant to paragraph
   11 of this agreement.

   7.        Impeachment: If your client should testify
   materially contrary to the substance of the proffer, or
   otherwise present in a legal proceeding a position
   materially inconsistent with the proffer, the proffer may
   be used against your client as impeachment or rebuttal
   evidence, or as the basis for a prosecution for perjury
   or false statement.

   8.         Derivative Use:     The government may make
   derivative use of, and may pursue investigative leads
   suggested by, any statements or information provided by
   your client's proffer. This provision is necessary to
   eliminate the necessity of a Kastigar hearing wherein the
   government would have had to prove that the evidence it
   sought to introduce at trial or in a related legal
   proceeding is derived from "a legitimate source wholly
   independent" of statements or information from the
   proffer. Furthermore, by signing this document, you and
   your client waive any hearing pursuant to Kastigar v.
   United States, 406 U.S. 441 (1972).

   9.     Sentencing Information: Your client understands
   that if he becomes an indicted defendant, the government,
   pursuant to 18 U.S.C. Section 3661, must provide to the
   client's sentencing judge the contents of the proffer.
   Pursuant to U.S.S.G. Section 1B1.8, however, the proffer
   may not be used to determine the appropriate guideline
   sentence, except as stated in the "Impeachment" paragraph
   above.



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     10.     Brady Discovery: Your client understands that
     Brady v. Maryland and its progeny require that the
     government provide any other indicted defendant all
     information known to the government which tends to
     mitigate or negate such defendant's guilt. Should your
     client's proffer contain Brady material, the government
     will be required to disclose this information to the
     appropriate defendant(s).

     11.     Crimes of Violence: Any statements made by your
     client concerning any crime of violence may be used
     against your client directly or indirectly.

     12.     Full Agreement: This document constitutes the
     full and complete agreement of the parties.

The Court determined that "the government has not breached the

proffer agreement simply by presenting to the grand jury and

including the false statement counts in the superseding and second

superseding indictment[;] the government did not need to seek the

Court's advance permission to charge Mr. Arata." See Hoffman, 2014

WL 5040721, at *6 (emphasis added).      Nevertheless, the Court noted

that the parties' submissions and, thus, the Court's ruling left

outstanding "an obvious unresolved issue that must be dealt with,

pre-trial[:] whether or not Mr. Arata materially breached an

agreement with the government such that the government is absolved

of any of its obligations under the proffer agreement."            Id.   The

government now seeks a judicial determination that Mr. Arata

breached the proffer agreement; the government requests that the

Court vitiate the proffer agreement so that the government may be

absolved from its conditional promise not to use his proffer

statements   in   its   case-in-chief.       Mr.    Arata     opposes    the


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government's request with respect to the proffer agreement, and he

also seeks to dismiss Counts 1 through 21 of the second superseding

indictment or, alternatively, he seeks severance on the ground that

joinder   is   prejudicial    because     he   withdrew    from   the   alleged

conspiracy in August 2009.

                                  I.
                  Motion to Vitate Proffer Agreement

                                     A.

     1.    Legal Standard: Material Breach by a Preponderance of the
           Evidence

     The parties agree that the procedure articulated in this

Court's   October   8,   2014    Order     and   Reasons     applies    to   the

government's request for a judicial determination that Mr. Arata

breached the proffer agreement.         See United States v. Hoffman, No.

14-22, 2014 WL 5040721, at *3 (E.D.La. October 8, 2014).                That is:

          [W]hen the government takes the position that a
     criminal defendant has breached an agreement such as a
     non-prosecution agreement[,] a special procedure is
     triggered[.] United States v. Castaneda, 162 F.3d 832,
     835 (5th Cir. 1998)[.]   Notably, the focus is on the
     materiality of the defendant's alleged breach, and the
     burden of proof rests with the government[.]

          When the government believes that a defendant
          has breached the terms of a nonprosecution
          agreement and wishes to be relieved of
          performing its part of the bargain ... due
          process [requires that] the government must
          prove to the court by a preponderance of the
          evidence that (1) the defendant breached the
          agreement, and (2) the breach is sufficiently
          material to warrant rescission. If the
          pleadings show no factual dispute, the court
          may determine breach as a matter of law.
     Castaneda, 162 F.3d at 836.

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Hoffman, 2014 WL 5040721, at *3 (emphasis added).               Materiality is

defined as a statement having "a natural tendency to influence, or

[being] capable of influencing, a decision of the decision making

body to which it is addressed."      United States v. Gaudin, 515 U.S.

506, 509 (1995).

     2.    Standard for conducting an evidentiary hearing

     The   government    submits   that   it    is   within       the   Court's

discretion to hold an evidentiary hearing but that the Court need

not hold one here, where the undisputed facts suffice to show that

it is more likely than not that Arata made a material misstatement

at the proffer.    In other words, the government urges the Court to

put aside any factual dispute and consider only the undisputed

factual record on the papers.

     The defendant counters that, if the Court is inclined to grant

the government's motion, he is entitled to a hearing and to call

certain witnesses to develop the record. What is now an incomplete

record.    The Court finds that the process calls for a limited

evidentiary   hearing.    Of    particular     concern     is     whether    an

evidentiary record consisting entirely of unauthenticated evidence

is a sufficient record starting point for determining the threshold

issue: whether a defendant materially breached a proffer agreement.

     Although the case literature suggests, as the government

points out, "[i]f the pleadings show no factual dispute, the court

may determine breach as a matter of law", that seems directed


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toward "pleadings" and not documentary evidentiary submissions. See

Castaneda, 162 F.3d at 836.        The process endorsed by the case

literature contemplates an evidentiary hearing where, as here, the

Court is directed to consider documentary evidence and there are

some disputes about the submissions as well as the scope of the

record.

                                   B.

      The Court turns to consider the parties' arguments and the

evidence that places the arguments in context. The government

focuses on what it considers to be four material misrepresentations

made by Arata during the proffer.         The source of these purported

misrepresentations is Government Exhibit A, the FBI 302 summarizing

the proffer meeting. The government submits that it has shown by at

least a preponderance of the evidence that Arata knowingly made at

least one material false statement sufficient to vitiate the entire

proffer agreement.

      The Government's Arguments

      The government submits that Arata was debriefed on the eve of

indictment to give him a final opportunity to tell his side of the

story; but he gave false statements in an attempt to influence the

government's decision whether to present an indictment against him.

The   parties   agree   that    Arata's       FBI   302    is    an   accurate

representation of Arata's statements during his debriefing.                  In

light of the documentary evidence, the government contends that it


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has shown by a preponderance of the evidence that Arata knowingly

made at least one material false statement sufficient to vitiate

the entire proffer agreement.

      Placing in context the evidence it submits as to each of

Arata's alleged false statements, the government addresses Counts

22 and 23 first, followed by Count 24, and finally considers Count

25.

      Counts 22 and 23: Termination of Arata's relationship with

Peter Hoffman and submission of legal fees to the State

      The government first submits that, in an attempt to distance

himself from Hoffman, Arata falsely stated during the proffer that

"he terminated his relationship with Peter Hoffman in or about July

2009." Although the government concedes that the record establishes

that Hoffman and Arata had a falling out in the beginning of August

2009, the government submits that they reconciled in time to file

the second application with the State.       As support, the government

points to emails dated November 2009 between Hoffman and Arata.

      Among the fictitious expenditures included in the January 20,

2010 application were hundreds of thousands of dollars in bogus

legal fees for Peter Hoffman and Arata.      Arata admitted during his

proffer that the legal fees were bogus, but the government charges

that he falsely stated that "he was not aware that the [] legal

fees were submitted to the State for tax credits."




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     The government then takes the Court through the many exhibits

it has submitted: "When reviewed in sequence," the government

submits, "these items prove by a preponderance of the evidence that

Arata   lied   during    the   proffer     about    the   termination     of   his

relationship with Peter Hoffman in July 2009 and also lied about

his knowledge of, and involvement in, the submission of bogus legal

fees to the State for tax credits after July 2009." The government

submits this documentary evidence:           Exhibit D (November 12, 2009

emails between Arata and Hoffman), Exhibit E (December 21, 2009

email between Arata and his business partner, Jerry Daigle),

Exhibit F (December 23, 2009 email from auditor Katie Kuchler to

Arata attaching legal fee invoices), Exhibit G (December 24, 2009

email from Arata to Daigle), Exhibit H (December 28, 2009 email

between Arata and Kuchler), Exhibit I (December 29, 2009 emails

between   Kuchler       and    Hoffman     regarding      proof     of    claimed

expenditures), Exhibits J & K (December 31, 2009 emails from Arata

to Kuchler supplying equity interest and ownership proof; proof of

his ownership interest in SAPLA supported Hoffman's claim that

Arata's legal fees were paid by increasing Arata's equity interest

in SAPLA), Exhibit L (December 30-31, 2009 emails between Seven

Arts in-house accountant, Marcia Matthews, Hoffman, and Arata),

Exhibits M, N & O (January 7-8, 2010 emails between Kuchler and

Hoffman regarding legal fees), Exhibit P (January 12, 2010 email

from Hoffman to Arata), Exhibit Q (January 12, 2010 email from


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Arata to Kuchler in which Arata emailed to Kuchler the executed

SAFELA operating agreement evidencing Voodoo's 40% interest in

SAFELA), Exhibit R (January 20, 2010 Seven Arts 807 infrastructure

project application filed with the State, which includes $350,000

in legal fees), Exhibit S (April 13, 2010 email between Hoffman and

Arata and May 14, 2010 email between Hoffman and auditor John

Theriot (with Arata, Kuchler, and others copied on the email)

regarding auditor's withdrawal of audit reports).

     These exhibits show, the government argues, that Arata made

materially   false   statements      regarding     (a)    terminating      his

relationship with Peter Hoffman in July 2009 and (b) his knowledge

regarding the submission of the legal fees in the 2010 tax credit

application; that after July 2009, Arata personally assisted in

completing the January 20, 2010 application by helping to convince

the auditor to include the bogus legal fees in the audit report and

by reviewing the Hoffmans' affidavits which claimed thousands of

hours of "supervisory" work that was submitted as expenditures to

the State.   Also, 10 months after the alleged termination of the

relationship, that Arata still worked with Hoffman after the State

uncovered some fraudulently claimed expenditures and the auditors

withdrew their reports.       And finally, contrary to Arata's claim to

government investigators during his proffer, that Arata continued

his relationship with Peter Hoffman on film-related projects at

least until 2011.      (Here, the government cites Exhibit T in


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support; Exhibit T is a January 4, 2011 email from Hoffman to Arata

attaching a Loan and Security agreement for the film,                         Booty

Patrol).

       Count 24: The Film Equipment

       During the proffer, Arata was questioned regarding the claimed

purchase of $1,027,090 in film equipment from Departure Studios in

California.    Arata    stated     that     the   film   equipment      had   been

"acquired" in that the equipment would be contributed to 807

Esplanade by the vendor as a business partner and that he did not

think the equipment had been "purchased" or "paid for."                 It is the

government's contention that this statement is materially false,

and was intended to mislead the FBI with regard to Arata's intent.

That to this day, no film equipment has been contributed by

Departure and no partnership with Departure has commenced.

       Turning to the evidence, the government argues that the

documents show that Arata tried to mislead the auditors and the

State into believing that the equipment had been purchased and paid

for.     The misrepresentations in the documentary evidence are

inconsistent     with    Arata's    proffered       claims    of    a   business

contribution and in fact prove that Arata knew the equipment had

not been acquired in any manner.          The government directs the Court

to Exhibit U (November 19, 2008 email from Seven Arts employee to

Arata,     attaching    both   sides      of   Departure     Studios    circular

transactions; and Arata email explaining that Seven Arts "has no

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'sale' contract for the equipment [but that] bank statements will

evidence the payments"), Exhibit V (December 1, 2008 email from

Arata to auditor in which Arata sends to the auditor only the

outgoing "payment" side of the circular transaction, which the

government contends created the illusion that SAPL had divested

itself of $1,027,090 and paid Departure Studios; although he had

the other side of the wire transfer as well, Exhibit U, Arata

submitted only the "payment" side), Exhibit W (May 14, 2009 email

from Arata to State and auditor attaching an invoice as proof of

payment for Departure equipment), Exhibit X (Seven Arts Pictures

Louisiana bank account statement, showing that on October 3, 2008,

SAPL received $400,000 in cash from Arata's company Leap Film Fund;

after the wire transfers in Exhibit U had the money bouncing back

and   forth   between   SAPL   and   Departure   Studios       to    create    the

appearance of payments for the $1,027,090 in equipment, on October

7, 2008, the $400,000 inserted by Arata was withdrawn and sent back

to Leap Film Funds, after the circular transactions were complete).

      The government submits that this evidence shows that Arata

knew that the equipment had not been "acquired" or "contributed";

in fact, the equipment had not been obtained in any manner.

Arata's knowledge of the truth is shown by his providing bank

transfer records, invoices and signed payment receipts to create an

illusion that the film equipment had been paid for and purchased

from a "vendor."    Arata's false statement was intended to mislead


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the government into believing that Arata did not intend to defraud

the auditor or the State with regard to the film equipment; but the

government says the evidence shows that is what he did.

     Count 25: Disclosure of Circular Transactions

     Finally, the government submits that Arata falsely represented

at the proffer that he "thought he fully disclosed both sides of

the transactions for construction and equipment expenditures."            In

fact, the government contends, Arata knew that he had purposefully

culled out the back end of the circular transactions to mislead the

auditors and the State.

     Turning again to Exhibit W, as well as Exhibit X, on October

3, 2008, Arata initiated circular transfers at Regions Bank by

inserting $400,000 to be bounced back and forth in between bank

accounts controlled by the defendants. And Exhibit U shows that on

November 19, 2008 Arata received copies of both sides of the

Regions Bank wire transfers for equipment and construction; but on

December 1, 2008, Exhibit V shows, Arata deliberately withheld from

the auditor the back half of the circular transactions related to

film equipment.   And, the next day, on December 2, 2008, Exhibit Y

shows that Arata purposefully withheld from the auditor the back

half of the circular transactions related to construction. Exhibit

W shows that Arata signed and submitted fraudulent payment receipt

certifications for construction and film equipment.




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     The government submits that it is clear that Arata knew that

he was not fully disclosing both sides of the circular transactions

to the auditors.     He acted deliberately with an intention to

falsify to make it appear that certain items had been paid for so

that tax credits could be claimed; tax credits to which he would

not otherwise be entitled.

     The government emphasizes that Arata does not dispute that he

made the statements charged in the second superseding indictment;

he does not dispute the accuracy of the FBI's account of those

statements; he does not dispute the accuracy of the documentary

evidence presented by the government.         Arata only disputes the

inferences and conclusions to be drawn from the evidence. The

government submits that there is no need for additional evidence.

But the complexity of the government's submissions contradicts the

argument that an evidentiary hearing is unnecessary.

     Arata's Opposition

     The   government's   submission,    Arata    correctly     urges,    is

insufficient to carry its burden of proof, considering that it

submits a series of emails, several of which do not include what he

claims is the full story (Exhibits I, M, N, and O); two emails that

were submitted to an auditing firm which did not prepare a tax

credit application (Exhibits V and Y); and, finally, he insists

virtually every email is rife with hearsay.         Arata counters that

the emails selected by the government (to the extent they are even


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relevant) do not set forth all the facts and that many of the

government's factual assertions are contradicted by other excluded

emails.8

     Moreover, Arata submits, that because of the factual questions

that confront this motion, the government cannot carry its burden

on the papers alone and an evidentiary hearing is necessary to

develop a complete and accurate record.          The Court agrees.        But

denial of this motion seems premature and an evidentiary hearing at

which Arata would specifically call Jerry Daigle, Katie Kuchler-

Davis, Marcia Matthews, Chris Stelly, Katherine Dodge, Stephanie

Dillon, and Melissa Oelking seems abundantly appropriate in order

to serve Mr. Arata's rights.

     First, he submits that he told the truth when he stated that

he terminated his relationship with Peter Hoffman in or about July

2009. Arata explained during the proffer session that he sent this

"nice guy" letter instead of a harsher one because he had to

continue dealing with Hoffman in order to unwind their business

relationship.9    Government Exhibit D        (11/12/09 email) does not


     8
      Although the government says that Arata lied at the proffer
in order to influence the government's decision regarding whether
to indict him, arguably the facts show that before the proffer
session even began, the government already knew Arata's statements
on virtually all of the issues through prior meetings with Arata
and other documents he provided. See United States v. Castaneda,
162 F.2d 832 (5th Cir. 1998).
     9
      (Voodoo Studios, LLC, a company owned by Advantage Capital,
Mr. Arata, and another individual investor, had a 40% interest in
the 807 Esplanade project.    Advantage Capital had loaned $3.7

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support an inference of reconciliation but, rather, refers to an

"amicable   settlement"   between   adverse    parties;        it   is   also   a

communication made by Arata and Jerry Daigle as representatives of

Voodoo Studios, not by Arata as an agent for Hoffman's businesses.

Nor does Government Exhibit L (12/31/09 email) support an inference

of reconciliation.    All this email shows is that Arata agreed to

provide hotel bills and car rental invoices for a film, Night of

the Demons, to Seven Arts' bookkeeper, Marcia Matthews.                  Arata's

termination letter specifically references Night of the Demons and

states that "I will, as I indicated to you yesterday, go through

bank statements with Marcia to make sure that she has specific

backup for what has been paid up to date."         (Govt. Ex. C).         Thus,

Exhibit L is, in fact, entirely consistent with Arata's explanation

to the government.

     Second, Arata protests that he told the truth when he stated

that he did not know that $250,000 in legal fees had been submitted


million to the project and could not simply walk away.).
     At the same time he sent the termination letter, Arata
informed the State that the audit supporting the tax credit
application was being withdrawn and that he was no longer
representing SAPL. Hoffman then removed Arata from the SAPL bank
account and notified the state that SAPL had retained new counsel
for its tax credit application.
     Arata's position on this termination issue has always been
consistent. In April 2012, almost two years before the indictment,
Arata sent an email to the state explaining that he had informed
them several times since mid-2009 that he does not represent Seven
Arts, and that he will not forward communications to the proper
party: "Indeed, I am adverse to Seven Arts in this matter and
others that you may be aware of."


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to the state.   He contends that, in fact, the government cannot

provide any evidence that Arata ever saw the January 2010 tax

credit application or had any knowledge regarding what was included

in it.

     The emails submitted by the government arguably do not prove

that Arata knew that Hoffman included legal fees in a subsequent

tax credit application.       At most, the emails might equally suggest

that Arata was aware that Hoffman was attempting to include these

fees and that Arata disagreed with that attempt. As several emails

indicate (Government Ex. G and H), Arata complained about Hoffman's

bogus invoices to Voodoo partner Jerry Daigle ("he submitted this

to [auditor] Katie [Kuchler-Davis] without my approval"), and

ridiculed the invoices to Ms. Kuchler-Davis ("the New Orleans,

California bill?").    The government apparently overlooks that, in

his proffer, Arata explained that "Arata talked to [Kuchler-]Davis

on the phone and told her that he did not submit the legal invoices

to Seven Arts. Arata told Davis that the fees were not his legal

fees."

     And, Arata submits that his statements are consistent with Ms.

Davis' January 7, 2010 email to Hoffman that "Michael states that

he did not receive the money for which you are billing a company he

has no interest in, so I am taking out his hours and fees of

$203,637.50." (Arata Ex. 6).        This could be entirely consistent

with what Arata said during the proffer: that he "called [Seven


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Arts employee Stephanie] Dillon and told her not to submit the

invoices to the auditors, and said that he had not received

payment, had not billed for the hours and had not discussed being

owed legal fees."     Instead of being directed to Arata's knowledge

of the legal fee issue, most of the government's email exhibits

consist of Hoffman trying to convince Kuchler-Davis to include

Arata's legal fees (Govt. Ex. I, M, N, and O).                The only emails

between Arata and Kuchler-Davis contain copies of various corporate

documents, and these emails make no reference to legal fees. (Govt.

Ex. J, K, and Q).     On their face, Arata takes the position that

these emails support neither the government's conclusion that these

emails were part of an attempt by Arata to include invalid legal

expenses in a tax credit application, nor do they support the

government's inference that Arata and Hoffman reconciled or that

Arata returned to active involvement in the 807 Esplanade project.

Perhaps most importantly, the record focuses no evidence on the

ultimate issue: that Arata ever even saw the January 2010 tax

credit application or had any idea what was contained in it.

     Third,   Arata   submits    that     he   truthfully    stated    that   he

believed Departure Studios contributed film production equipment to

Seven Arts as a business partner. The government argues that Arata

lied when he stated he "thought Seven Arts 'acquired' the equipment

in that Seven Arts agreed with [Departure Studios owner Damon]

Martin that he would contribute the equipment as part of being a


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business partner and did not think Seven Arts purchased or paid for

the   equipment."         This   explanation,        he    insists,     was     entirely

correct. At the proffer session, Arata explained that Departure

Studios and its owner were intended to be co-venturers in SAPL.

Consistent with this, SAPL's business plan states that Departure

Studios would be a managing member of the business and that Damon

Martin would be part of the management team. (Arata Ex. 7).                           In

addition,     SAPL's      Infrastructure     Application         made        clear   that

Departure Studios would be a partner in the project. (Ex. 8).                        And

Mr. Martin himself confirmed to the FBI that Peter Hoffman told him

he was going to get a 25% stake in the business. (Ex. 9).                        Hoffman

himself executed an affidavit on November 6, 2008 in which he

stated that "Departure Studios will act an [sic] agent and co-

venturer with Seven Arts in the operation of a post-production

sound facility at 807 Esplanade, and it has confirmed the existence

of    this   equipment...."      (Ex.   10).         Hoffman    also     stated      that

Departure's equipment was "acquired by Seven Arts for use in its

facility at 807 Esplanade in New Orleans, Louisiana which equipment

will be delivered to 807 Esplanade upon completion of construction

of the facilities at that location."

       Finally, Arata submits that he truthfully stated that he

thought      he   fully    disclosed    to     the        auditors     the     "circular

transactions" for construction and equipment expenditures.                            The

government contends that Arata lied when he said that he thought he


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fully disclosed the circular transactions.               Arata stated in his

proffer that "he thought he showed the auditors both sides of the

transaction, which would have revealed the circular nature of the

transaction."        The four exhibits submitted by the government,

purporting to prove that Arata did not disclose these transactions

to the auditors, do not begin to explain the relationship between

SAPL and its auditors and the extent of the disclosures made.                   In

fact, noticeably absent from the government's evidence is any

communications on this issue between Arata and Kuchler-Davis, the

accountant    from    Malcolm   Dienes,    LLC,    the   firm      that   actually

prepared the SAPL audits that were submitted to the state.10

     The Government's Reply

     The   government     submits   that   the    following        issues   remain

undisputed even in the face of Arata's opposition and accompanying

submission.    The government counters:




     10
      To give the Court an idea as to how incomplete a picture the
government is offering, Arata submits: Malcolm Dienes, LLC, the
auditing firm that employed Kuchler-Davis and prepared the first
two tax credit applications submitted to the state, produced to the
grand jury its entire file related to the defendants -- that file
includes more than 11,000 pages and, notably, that file contained
the October 2008 bank statement that the government contends showed
the circular transactions.    Based on this alone, he says, the
government cannot prove that Arata failed to disclose both sides of
the transactions. To even attempt to prove what was or was not
disclosed to the auditors, he appealingly argues, would require an
evidentiary hearing at which Dodge and Kuchler-Davis would be
called to testify.

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1.   It is undisputed that Arata continued working with Peter
Hoffman after the August 6, 2009 termination letter:

     (a) Arata concedes that he "stayed on with Seven Arts ...

because he knew he would not get his money back related to [the]

project if he walked away."          The government submits that this is

inconsistent      with   an    August     6,        2009   permanent     and    public

withdrawal.

     (b) Arata does not dispute or address his statement to Hoffman

on November 12, 2009: "we both have the expectation that the

relationship will continue to our mutual personal and professional

benefit, on 807 and any other projects you may have."                          Ex. D.

Arata addresses the "amicable settlement" language, but completely

ignores    this    clear      statement        of    reconciliation      and    future

collaboration.

     (c)    Arata does not dispute or address the affidavits he

reviewed for the Hoffmans on December 31, 2009.                     Ex. L.     Arata's

opposition addresses only an unrelated part of this email; he

completely ignores the 807 Esplanade affidavits attached to this

email for his review.

     (d) Arata does not dispute or address the fact that he

assisted the Hoffmans 8 months after the August 6, 2009 letter when

the auditors decided to withdraw the first two audit reports.

Govt. Ex. S and Ex. A to Arata's motion to dismiss for prejudicial

joinder.



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       (e)   Arata does not dispute or address the January 4, 2011

review of a Loan and Security Agreement for the Seven Arts film

Booty Patrol.     Ex. T.

2. Arata does not dispute the facts regarding the submission of
the legal fees.

       (a) Arata does not dispute that his involvement with legal

fees occurred after his 8/6/09 withdrawal.

       (b) It is undisputed that "Mr. Arata was aware that Mr.

Hoffman was attempting to include [legal] fees...."

       (c) It is undisputed that Arata and Jerry Daigle joked about

the legitimacy of the legal fees on 12/24/09.

       (d) It is undisputed that Arata initially told the auditor on

1/7/10 that "he did not receive the money for which [Hoffman was]

billing a company [Arata] has no interest in..." and that the

auditor then decided on "taking out [Arata's] hours and fees...."

Ex. M.

       (e)   Arata does not dispute or address the fact that later

that same day he and Peter Hoffman discussed and agreed on legal

fees   being   compensated    by   ownership   interest    in   the   related

companies.     Ex. N.

       (f) Arata does not dispute or address that he "confirmed the

hours" to the auditor the very next day on 1/8/14, after Arata and

Hoffman agreed on how the legal fees were being compensated.               Ex.

O.



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     (g) Arata does not dispute or address Hoffman's 1/12/10 email

that followed Arata's confirmation of the hours: "Please send the

email to [the auditor] ASAP so that she doesn't get any more

suspicious than she already is...."      Ex. P.11

     (h) Arata does not dispute or address the fact that one and a

half hours after Hoffman's email, Arata sent the ownership interest

records to the auditor, stating "We hope this helps you and Peter

wrap up the SAPL audit."      Ex. Q.

     (i)   Arata does not dispute or address the fact that he then

assisted and advised the Hoffmans four months later when the

auditor decided to withdraw the audits.      Govt. Ex. S and Ex. A. to

Government's Opposition to Arata's motion to dismiss.

     Although Arata initially denied the legal fees because he was

not paid cash, this evidence shows by a preponderance that he later

acquiesced when Hoffman convinced him to support the legal fees by

claiming he was paid with interest in the related companies.

3.   Arata does not dispute the facts regarding the Departure
Studios film equipment.

     (a) Arata does not dispute or address the fact that he

repeatedly told the auditors and the State that the equipment had

been purchased from a vendor, not contributed by a business

partner.   Ex. U, V, and W.



     11
      This Exhibit, in isolation, could indeed be damaging to
Arata's assertions, but, all the more focuses this Court's belief
in the need for a limited evidentiary hearing.

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     (b) Arata does not dispute or address the fact that he

conducted circuitous transfers of funds to make it appear as if the

equipment had been purchased and paid for, not contributed by a

business partner.     Ex. U, V, and X.

     (c) Arata does not address or dispute the fact that, to this

day, no film equipment has been contributed by Departure Films and

that no partnership with Departure ever commenced.

     The government submits that it satisfied its preponderance

burden that Arata knew that the film equipment had not been

contributed to the 807 project but that he had flatly told the

auditors and the State that it had been purchased from a vendor.

That he intended to mislead the government into believing that he

did not intend to defraud the auditor or the State with regard to

the film equipment.

4. The undisputed facts show that Arata knew he was not disclosing
the full nature of the circular transactions for equipment and
construction.

     In his proffer, Arata claimed that he thought he showed the

auditors both sides of the circular transactions.                The government

contends that the following is undisputed:

     (a) The government provided two examples of Arata culling out

portions   of   the   circular    transactions    in   his   submissions      to

auditors to make it appear that equipment had been paid for when in

fact it had not. Ex. U, V and Y.           And the government submitted

copies of affidavits signed by Arata certifying "payment" for


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equipment and construction.        Ex. W.      Neither affidavit mentions

that the vendors had not been paid and that the money had been

returned to the originating account minutes after the withdrawal.

     (b) Arata conducted the circular transfers.

     (c)   Arata   only   showed   the      front   half   of     the     circular

transactions to the auditors and to the State.

     The government submits that this shows by a preponderance that

Arata intended to mislead the FBI with regard to his disclosing

only the payment side of the circular transactions to the auditors

and to the State.

                                      C.

     Finally,   the   Court   turns    to    analyze   the       merits    of   the

evidentiary dimension of the parties' dispute as to material

breach.    The government agreed to not use in its case-in-chief

against Arata any statements or information contained in his

proffer.   In exchange, Arata agreed to be "completely truthful."

     2.     Truth: Your client's proffer must be completely
     truthful with no material misstatements or omissions of
     fact.

     Has the government proven by a preponderance of the evidence

that Arata materially breached his promise to "be completely

truthful"? On this complex and extensive record the Court believes

that the answer is "perhaps" but out of caution the Court prefers

to hold an evidentiary hearing to give Arata an opportunity to put

on evidence of his side of the story and call the witnesses he


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represents can serve his contentions.         On the other hand, if the

government   at   such   hearing      establishes    even      one    material

misrepresentation, its motion will be granted:

     1.   Did Arata misrepresent terminating his relationship with

          Hoffman in July 2009?

     2.   Did Arata make a material representation when he stated

          that he did not know that legal fees were submitted for

          tax credits?

     3.   Did Arata make a material misrepresentation when he

          stated that the film equipment from Departure Studios had

          been    "acquired"     in    that   the   equipment        would   be

          contributed to 807 Esplanade by the vendor as a business

          partner and that he did not think the equipment had been

          "purchased" or "paid for"?

     4.   And finally, did Arata make a material misrepresentation

          when he stated that he "thought he fully disclosed both

          sides of the transactions for construction and equipment

          expenditures"?

     Resolution of these issues will be submitted and deferred

pending the evidentiary hearing requested by Arata, which will be

held on Wednesday, January 7, 2015 at 10:30 a.m.




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                                II.
             Motion to Dismiss -- Prejudicial Joinder


     Mr. Arata claims he withdrew from any alleged conspiracy on

August 6, 2009, well before the submission of the second and third

tax credit applications; thus, any evidence submitted at trial

concerning    post-withdrawal      conduct      will     prejudice       him.

Accordingly, he seeks relief under Rule 14(a) of the Federal Rules

of Criminal Procedure, for prejudicial joinder, which he says

requires dismissal or severance.12           The Court first considers

whether there was misjoinder under Rule 8(b) before it reaches

whether Arata will be nonetheless prejudiced by the joinder such

that relief under Rule 14 is warranted.

                                  A.

     In considering a defendant's request for relief under Rule 14

of the Federal Rules of Criminal Procedure, the Court first

considers whether joinder was proper under Rule 8.                 Where an

indictment charges multiple defendants and multiple counts, Rule

8(b) of the Federal Rules of Criminal Procedure governs the

appropriateness of joinder.     Rule 8 states:



     12
      Mr. Arata requests that the Court dismiss Counts 1 through
21 of the second superseding indictment as against him on the
ground that the prejudice from all of the Overt Acts, substantive
counts, and evidence that will be presented, which follow the first
application for film tax credits, will have a prejudicial spillover
effect.   In the alternative, Mr. Arata requests that the Court
sever the trial of Mr. Arata and limit his trial to Overt Acts and
Counts that pre-date August 6, 2009.

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       The indictment or information may charge 2 or more
       defendants if they are alleged to have participated in
       the same act or transaction, or in the same series of
       acts or transactions, constituting an offense or
       offenses. The defendants may be charged in one or more
       counts together or separately. All defendants need not
       be charged in each count.

Fed.R.Crim.P. 8(b).            The plain text of the Rule permits defendants

to be joined if they are charged with participating in the same

series of acts or transactions, and they need not be charged

together in each count for joinder to be proper.                       See id.      "What is

required [to properly join defendants or charges] is a series of

acts     unified      by       some    'substantial        identity         of    facts     or

participants.'"          United States v. McCrae, 702 F.3d 806, 821 (5th

Cir. 2012)(citations omitted).                This nexus is ordinarily satisfied

when     an    indictment          charges    an    overarching        conspiracy         that

encompasses the substantive offenses charged. See United States v.

Lane, 735 F.2d 799, 805 (5th Cir. 1984), aff'd in part and rev'd in

part on other grounds, 474 U.S. 438 (1986). "Whether joinder is

proper    is    normally         determined        from   the    allegations         in    the

indictment." McCrae, 702 F.3d at 820(citations omitted); see also

United States v. Kaufman, 858 F.2d 994, 1003 (5th Cir. 1998)("The

propriety      of   Rule       8    joinder    is     determined       by    the     initial

allegations      of      the     indictment,       which,     barring       arguments       of

prosecutorial misconduct, are accepted as true.").

       Turning      to     the     allegations       in    the    second         superseding

indictment,      considering          the    conspiracy,        wire   and       mail   fraud


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allegations, the government charges a series of acts unified by

substantial identity of facts. For this reason, the Court is

satisfied that the defendants and charges are properly joined under

Rule 8. Mr. Arata does not seriously advance a misjoinder argument

per se; rather, the parties' quarrel centers on whether Arata is

prejudiced by his joinder in light of his submission that he

withdrew from any conspiracy early on in August 2009.

     A claim of prejudice resulting from joinder triggers Rule 14.

The Court turns to whether Mr. Arata has demonstrated entitlement

to Rule 14 relief.

                                   B.

     Recognizing that joinder might in some cases prejudice a

defendant, or even the government, Rule 14(a) of the Federal Rules

of Criminal Procedure invests the Court with the discretion to

“order separate trials of counts, sever the defendants’ trials, or

provide any other relief that justice requires.”              Fed.R.Crim.P.

14(a).   When defendants are indicted together, joint trials are

favored, because “[t]hey promote efficiency and serve the interests

of justice by avoiding the scandal and inequity of inconsistent

verdicts.”    Zafiro v. United States, 506 U.S. 534, 537 (1993)

(internal    quotation   marks   and    citation   omitted).       This   is

especially true when, as here, a conspiracy is charged. See United

States v. Perez, 489 F.2d 51, 65 (5th Cir. 1973).




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     Given the efficiencies undergirding and the judicial system's

preference for joint trials of defendants indicted together, a

defendant "must overcome significant obstacles" to prevail on a

request to sever his trial from that of his co-defendants.                See

McRae, 702 F.3d at 821.       That is, once properly joined in an

indictment,   a   defendant   must     show   "specific    and   compelling

prejudice" to be entitled to severance of a joint trial.              United

States v. Krenning, 93 F.3d 1257, 1267 (5th Cir. 1996). A severance

is appropriate under Rule 14 only where “there is a serious risk

that a joint trial would compromise a specific trial right of one

of the defendants, or prevent the jury from making a reliable

judgment about guilt or innocence.” Zafiro, 506 U.S. at 539.

Severance could be appropriate, for example, where evidence that is

probative of one defendant’s guilt but inadmissible against another

defendant presents a risk of prejudice.        Id.   Severance should not

be granted where less drastic measures, such as curative jury

instructions, will suffice.      Id.      Finally, the Court notes that

motions to sever are rarely granted, and a decision to deny such a

motion will be reviewed on appeal only for abuse of discretion.

Perez, 489 F.2d at 65.

                                     C.

     Mr. Arata seeks a dismissal of Counts 1 through 21 against him

or, alternatively, seeks severance.        In support of his story that

he withdrew from any conspiracy on August 6, 2009, he submits


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evidence that: he sent a letter dated August 6, 2009 to Mr. Hoffman

terminating their business relationship;              he notified other Seven

Arts officers and others of his resignation; he advised the State

that he had withdrawn from his representation of Seven Arts and

Peter Hoffman; he abandoned his ownership interest in Seven Arts;

he met with government agents and lawyers, cooperated and provided

them with documents and participated in interviews; and he reminded

the State of Louisiana Film Office that he had withdrawn from

representing   Seven   Arts      and    that   he   was    adverse      to    it.   His

withdrawal   from    the   conspiracy,         he   maintains,        bolsters      his

contention that the spillover effect from the evidence that will be

presented in connection with his co-defendants would deny him a

fair trial. The government counters that nothing in the charges or

the factual submission by Arata resembles those rare instances in

which joinder has been found to be prejudicial.                      The government

contends that Arata has not cleared the hurdles he must clear to

show prejudicial joinder.        The Court agrees.

     "Upon joining a criminal conspiracy, a defendant's membership

in the ongoing unlawful scheme continues until he withdraws."

Smith v. United States, 133 S. Ct. 714, 717 (2013).                          In motion

practice   under    Rule   14,    the    defendant        bears   the    burden     of

demonstrating withdrawal, "of demonstrating that he has committed

affirmative acts inconsistent with the object of the conspiracy

that are communicated in a manner reasonably calculated to reach


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conspirators." United States v. Puig-Infante, 19 F.3d 929, 945 (5th

Cir. 1994)(internal quotation marks and citations omitted).            Fifth

Circuit Pattern Instruction 2.23 captures these legal principles

and is helpful:

                                 2.23
                       CONSPIRACY – WITHDRAWAL

          The defendant has raised the affirmative defense of
     withdrawal from the conspiracy.

          A member of a conspiracy remains in the conspiracy
     unless he can show that at some point he completely
     withdrew from the conspiracy. A partial or temporary
     withdrawal is not sufficient. The defense of withdrawal
     requires the defendant to make a substantial showing that
     he took some affirmative step to terminate or abandon his
     participation in the conspiracy. In other words, the
     defendant must demonstrate some type of affirmative
     action that disavowed or defeated the purpose of the
     conspiracy. This would include, for example, voluntarily
     going to the police or other law enforcement officials
     and telling them about the plan; telling the other
     conspirators that he did not want to have anything more
     to do with it; or any other affirmative acts that were
     inconsistent with the object of the conspiracy and
     communicated in a way reasonably likely to reach the
     other members. Merely doing nothing or just avoiding
     contact with other members is not enough.

          The defendant has the burden of proving withdrawal
     from the conspiracy by a preponderance of the evidence.
     To prove something by a preponderance of the evidence
     means to prove that it is more likely so than not so.
     This is a lesser burden of proof than to prove something
     beyond a reasonable doubt. "Preponderance of the
     evidence" is determined by considering all the evidence
     and deciding what evidence is more convincing.        You
     should consider the relevant testimony of all witnesses,
     regardless of who may have called them, and all the
     relevant exhibits received in evidence, regardless of who
     may have produced them. If the evidence appears to be
     equally balanced, or if you cannot say upon which side it
     weighs heavier, you must resolve the question against the
     defendant.

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          The fact that the defendant has raised this defense,
     however, does not relief the government of its initial
     burden of proving beyond a reasonable doubt that there
     was an unlawful agreement and that the defendant
     knowingly and voluntarily joined it.


     Although there is certainly some support in the record for

Arata's affirmative defense of withdrawal, this is an issue that

patently turns on factual controversies,13 which are best deferred

to consideration by the jury after development of the record at

trial. See United States v. Jimenez, 622 F.2d 753, 755-56 (5th Cir.

1980)). Because Arata's present request for dismissal or severance


     13
       Indeed, the government disputes this issue of fact by
submitting that Arata continued to take actions to advance the
conspiracy after he sent Hoffman the August 6, 2009 letter. For
his part, Mr. Hoffman filed a response to Arata's motion in which
he alerts the Court to his own motions set for hearing in January
2015 and he also, of some interest, takes the position that "Mr.
Hoffman fully supports Mr. Arata's assertion that he had nothing to
do with the Silva Audit Report and his representation of SAPLA had
long since ended when it was prepared and filed in July, 2012" and
that "Arata was not involved in any material decisions regarding
the second audit report." (Hoffman notes that he separately moves
to sever his trial from that of Arata; a motion that is noticed for
submission in January 2015).
      Complicating matters, the timeliness of Arata's withdrawal is
a factor. Distinguishing between timely and untimely withdrawal,
the Fifth Circuit instructs that "[a]n untimely withdrawal does not
negate liability on the conspiracy charge, but instead helps a
defendant guard against post-withdrawal acts done by other co-
conspirators and thereby serves to minimize his liability on
subsequent crimes." United States v. Salazar, 751 F.3d 326, 330-31
(5th Cir. 2014) (citation omitted, emphasis in original). "To be
timely, the withdrawal must precede the commission of an overt
act." Id. at 331 (citation omitted)(noting that, "[f]or purposes
of absolving liability for the conspiracy charge, withdrawal is
impossible once an overt act has been committed."). Arata submits
that he withdrew from the conspiracy on August 6, 2009. The second
superseding indictment charges 15 Overt Acts that are alleged to
have occurred before August 6, 2009.

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necessarily       requires   a   pre-trial       judicial    determination        of

withdrawal, the Court is not persuaded that severance or dismissal

is warranted.       Rather, the threshold issue of withdrawal -- an

affirmative defense of which in law Arata will bear the burden to

prove by a preponderance of the evidence at trial -- must await the

fact-finder. Arata submits nothing to persuade the Court to decide

withdrawal as a matter of law such that it could even reach whether

this withdrawal creates a danger of prejudice warranting severance,

let alone dismissal of Counts 1 through 21.

     Nevertheless, putting aside the factual issue of withdrawal,

Arata    submits    that   prejudicial     joinder    warrants       dismissal    or

severance. Arata invokes United States v. McCrae, 702 F.3d 806 (5th

Cir. 2012), where the Fifth Circuit held that a severance was

warranted.    The Court is not persuaded.            McRae is distinguishable

on its facts.      In McRae, the Fifth Circuit considered the appeals

of three New Orleans Police Officers, David Warren, Gregory McRae,

and Travis McCabe, tried jointly and convicted for charges related

to the death of Henry Glover.        Id. at 810-11.         Warren appealed the

district court's denial of his persistent requests to sever.                     Id.

Warren had been charged with shooting Glover while guarding a

police substation in the wake of Hurricane Katrina, while McRae and

McCabe were charged with orchestrating a gruesome and elaborate

coverup that included burning Glover's body and falsifying a police

report    after    the   shooting.   Id.    at    821.      The     Fifth   Circuit


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instructed: "[i]t is the rule ... not the exception, that 'persons

indicted     together      should       be    tried   together,        especially    in

conspiracy cases.'"         Id. (citation omitted).             The Fifth Circuit

held that Warren's case presented the rare situation warranting

severance, and vacated Warren's convictions and sentences and

remanded for a new trial.           Id. at 828.14       The court reasoned that

a "marginal relationship" existed between the charges and evidence

against     Warren   and    that     against      his    co-defendants;       that      a

significant     difference     existed        between   the   simplicity       of    the

underlying charges against Warren and the crimes alleged against

his co-defendants; and that the charges and evidence against the

co-defendants, from which Warren was disassociated, were highly

inflammatory and prejudicial in nature.                 Id.

       Here, unlike in the case of Officer Warren, the charges and

evidence against Arata and his co-defendants are the same; all

three are charged with conspiring to commit, committing, and aiding

and abetting wire and mail fraud, in violation of 18 U.S.C. §§§

371,    1343,   1341.15      As     a    result,      Arata   fails      to   identify

inflammatory or prejudicial evidence that will necessarily be

admissible against him at trial that careful jury instructions


       14
      Notably, in McCrae, the Fifth Circuit specifically held that
the district court did not abuse its discretion in denying Warren's
motions to sever urged before trial.
       15
      The government submits that Hoffman's efforts to defraud the
state are no more inflammatory than the charged conduct of Arata,
who allegedly compounded his crimes by lying to investigators.

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would not cure.        Arata fails to demonstrate that being tried

jointly with his co-defendants (indeed, alleged co-conspirators)

poses any specific or discrete risk to a trial right, and he

likewise fails to persuade at this pre-trial stage that the jury

will be unable to reliably judge his guilt or innocence in the

context of a joint trial. See Zafiro, 506 U.S. at 539.               Arata's

motion to dismiss or sever is DENIED.16

     Accordingly, the government's motion to vitiate the proffer

agreement is submitted and deferred pending a limited evidentiary

hearing.17 The hearing will be limited to the four misrepresentation

issues raised by the government.      Mr. Arata's motion to dismiss or

sever is DENIED.

                              New Orleans, Louisiana, December 18, 2014



                                   ______________________________
                                        MARTIN L. C. FELDMAN
                                    UNITED STATES DISTRICT JUDGE




     16
      Obviously, given that Mr. Hoffman's motion is noticed for
submission in January 2015, the Court does yet not reach the merits
of the independent arguments he advances in support of severance.
Mr. Hoffman also alludes to what he perceives to be the prejudicial
nature of the evidence Arata has submitted in support of Arata's
motion to dismiss for prejudicial joinder. Because Mr. Hoffman has
filed separate motions seeking relief, the Court will fully
consider Mr. Hoffman's arguments when it reaches his motions.
     17
          See United States v. Castaneda, 162 F.3d 832, 836-39 (5th Cir.
1998).

                                    43
